IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI

SOUTHERN DIVISION
DAVID STEBBINS, )
)
Plaintiff, )
)
V. )Case No. 10-3305-CV-S-RED
)
RELIABLE HEAT & AIR, LLC, et al., )
And )
)
RANDALL RICHARDSON, et al. )
)
Defendants. )

MOTION FOR SUMMARY JUDGMENT

COME NOW Defendants Randall Richardson and Reliable Heat &
Air, LLC, by counsel, and, pursuant to Rule 56 of the Federal Rules of Civil
Procedure, move the Court to enter summary judgment in behalf of
Defendants and against Plaintiff, David Stebbins, because there is no
genuine issue of material fact as to any substantial and required allegation
alleged in Plaintiffs Petition and the undisputed facts herein clearly show
that Defendants are entitled to judgment as a matter of law.

WHEREFORE, for the reasons stated herein and in movant's
Suggestions and statement of uncontroverted material facts and movant's
legal memorandum explaining why summary judgment should be granted,
Defendants pray that the Court sustain Defendants’ motion for summary
judgment and enter judgment in favor of Defendants and against Plaintiff

with costs assessed against Plaintiff.

Case 6:10-cv-03305-RED Document 140 Filed 09/02/11 Page 1 of 2

ZZ Gay j ReAliman Bar #19921
®.0_Bods5049

Branson, Mo 65615
Phone: (417) 332-2800
Fax: (417) 332-1008
garywallman@pmail.com
Attorney for: Defendants

Case 6:10-cv-03305-RED Document 140 Filed 09/02/11 Page 2 of 2

